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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     BECKLEY DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                   CRIMINAL ACTION NO. 5:02-cr-00026-1

JERMAINE CALDWELL,

                              Defendant.



                     MEMORANDUM OPINION AND JUDGMENT ORDER


       Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to reduce

Defendant’s sentence based on a subsequent reduction in the applicable sentencing guideline. On

November 1, 2007, the United States Sentencing Guidelines were amended to reduce by two levels

the guidelines in Section 2D1.1 for cocaine base (also known as crack). Subsequently, the

Sentencing Commission amended Section 1B1.10 to make the crack amendment retroactive,

effective March 3, 2008. Pursuant to a Standing Order entered on February 6, 2008, this case was

designated for Standard consideration.

       The Court has received and considered the original Presentence Investigation Report (PSI),

original Judgment and Commitment Order and Statement of Reasons, and addendum to the PSI from

the Probation Office, and received any materials submitted by the parties on this issue. The Court

has also considered the applicable factors under 18 U.S.C. § 3553(a), consistent with § 3582(c)(2),

and public safety.
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       By its written and filed response, the United States does not object to the reduction ordered

herein and recommends that the Court resentence Defendant to 80 months.

       In determining the extent to which the sentence may be reduced, this Court may take into

account the fact that Defendant previously received a downward departure from the then-applicable

guideline range from a range of 168 to 210 months to a sentence of 96 months based on a substantial

assistance motion from the Government. In authorizing a reduced sentence based on a retroactive

amendment to a guideline, the Sentencing Commission stated: “If the original term of imprisonment

was less than the term of imprisonment provided by the guideline range applicable to the defendant

at the time of sentencing, a reduction comparably less than the amended guideline range determined

under subdivision (1) may be appropriate . . . .” U.S. Sentencing Guidelines §1B1.10(b)(2)(B) app.

n. 3 (Proposed Amendments of Guideline Commentary, Effective March 3, 2008).

       For example, the application note provides:

       [I]n a case in which: (A) The guideline range applicable to the defendant at the time
       of sentencing was 70 to 87 months; (B) the defendant’s original term of
       imprisonment imposed was 56 months (representing a downward departure of 20
       percent below the minimum term of imprisonment provided by the guideline range
       applicable to the defendant at the time of sentencing); and (C) the amended guideline
       range determined under subsection (b)(1) is 57 to 71 months, a reduction to a term
       of imprisonment of 46 months (representing a reduction of approximately 20 percent
       below the minimum term of imprisonment provided by the amended guideline range
       determined under subsection (b)(1)) would amount to a comparable reduction and
       may be appropriate.

Id.

       In this case, the bottom of the original guideline range was 168 months, and the Court

imposed a sentence of 96 months. That constituted a reduction of 42.8%. Thus, the new reduction

authorized by the Sentencing Commission is also 42.8% below the new guideline minimum of 140

months -- that figure is 80.09 months, or 80 months in round numbers.

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       Based on the foregoing considerations, the Motion is GRANTED. The Court ORDERS that

Defendant’s base offense level be reduced by 2 levels, resulting in a new total offense level of 32.

It is further ORDERED that Defendant’s previous sentence be reduced to a period of 80 months,

with credit for time served to date.

       The Court DIRECTS the Clerk to send a copy of this Order to Defendant and counsel, the

United States Attorney, the United States Probation Office, and the United States Marshals.

                                              ENTER:         February 28, 2008




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